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                                                                                                 PEER REVIEWERS




     PLEASE READ & RESPOND IMMEDIATELY: PDG B-5 CALL FOR PEER REVIEWERS

     From: occreview (occreview@grantreview.org)

     To:      occreview@grantreview.org
                                                               EXHIBIT 26
     Date: Friday, September 30, 2022 at 11:58 AM CDT




                                 CALL FOR PEER REVIEWERS
                  PRESCHOOL DEVELOPMENT GRANT BIRTH THROUGH FIVE (PDG B-5)
                         RENEWAL AND PLANNING GRANTS COMPETITION

     Dear Potential Reviewer,
     On behalf of the U.S. Department of Health and Human Services (DHHS), Administration for Children and
     Families (AFC), Office of Child Care (OCC), and the U.S. Department of Education (ED), (the
     Departments), we, the Federal Grants Center of Excellence (CoE), are soliciting your interest and
     availability for participation in our panel review process for the “Preschool Development Grant Birth
     Through Five” (PDG B-5) Renewal and Planning Grants”. Below is a summary of the grant review
     process in which we are gauging your interest.

     BACKGROUND: The Departments are soliciting Renewal Grant applications from all states and
     territories that previously received an initial Preschool Development Grant Birth through Five (PDG B-
     5) award in December 2018, but did not receive or implement a Renewal grant award in later years. The
     PDG B-5 Renewal Grant Initiative will fund states and territories to enhance, expand, and/or build upon
     activities described in their initial grant. Additionally, the Departments are soliciting applications from
     eligible states and territories to carry out the activities of the Preschool Development Grant Birth
     through Five (PDG B-5) Planning Grant (formerly known as the PDG B-5 Initial Grant). States and
     territories eligible to apply for the Planning Grant include any states or territories that have never
     received a PDG B-5 grant or those for whom their 3rd year of Renewal grant funding will end in
     December 2022 or April 2023.

     PURPOSE: PDG B-5 Renewal Grant:
     The purposes of the PDG B-5 Renewal Grant remain focused on strengthening the state’s integrated
     ECE system to prepare low-income and disadvantaged children to enter kindergarten and improve their
     transitions across early childhood into the early elementary school grades. Through this renewal grant,
     states have the opportunity to pursue objectives that the data, research, and/or needs assessment have
     indicated are needed within their own state. This will help to break down barriers and improve access to
     higher quality ECE services.

     PURPOSE: PDG B-5 Planning Grant
     The purposes of the Planning Grant are to assist to improve coordination, collaboration, and meaningful
     partnerships across all state agencies and with all early childhood stakeholders in the state or territory, as
     they target helping low-income and disadvantaged children enter kindergarten prepared and ready to
     succeed in school and to help improve the transitions from the early care and education setting to
     elementary school. The PDG B-5 Planning Grant aims to assist states in the coordination of their
     existing early childhood programs, services, and funding streams for the purpose of improving services
     to children birth through age five in a mixed delivery system.



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                                                                                                 PEER REVIEWERS


     KEY DATES:
     The PDG B-5 grant review competitions are scheduled as follows:

     If available and selected, you may participate in both peer reviews if there are not sufficient unique
     reviewers identified for both weeks. The PDG B-5 grant review competitions are scheduled as follows:

              Renewal Review Timeline:
              Peer Review: November 14- November 18, 2022
              Orientation & ARM Training: Wednesday, November 9, 2022 2:00 PM – 4:30 PM

              Planning Review Timeline:
              Peer Review: November 28 – December 2, 2022
              Orientation & ARM Training: Thursday, November 17, 2022 2:00 PM – 4:30 PM

     REQUIREMENTS:
        The entire review will be conducted remotely via email, conference call, and web-based tools. Email
        will be used as the main source of contact between reviewers and the entire grant review team. Each
        panel will be composed of a chair and three reviewers. It is important that all reviewers and
        chairpersons have the technological ability or access to a WIFI bandwidth that allows them the
        capacity to download materials and documents and participate in face to face zoom meetings and or
        conference calls.
        Applications for review will be accessed electronically via a web-based Application Review Module
        (ARM) system. Hard copies of the applications will not be provided.
        All reviewers are required to read, score, and write detailed, objective, and constructive evaluative
        comments on all assigned applications. Chairpersons must read all assigned applications, facilitate
        panel discussion calls, and prepare a panel summary report for each application.
        The grant review typically requires that reviewers and chairpersons be available during regular
        business hours (9am to 5pm) and occasionally during evening hours and weekends throughout the
        entire review period. Each panel will review approximately 3 applications, so the time commitment
        is likely to be substantial.
          · The review will begin with a mandatory two-hour webinar training. We will provide you with
          all logistical and programmatic information, as well as training for the remote grant review system,
          ARM, and a detailed overview of the FOA during this training.

     Please note: This correspondence gauges your interest and availability and does not confirm that you will
     serve on a panel, nor does it confirm the role in which you may be utilized. Federal staff will assign roles
     based upon a number of factors including expertise and availability, and projected application count and
     eligibility. Should the number of applications received be less than projected, some panelists may be placed
     in an Alternate status or informed that their participation is not needed.
     HONORARIUM: Upon the successful completion of all grant review responsibilities, non-federal
     chairpersons will be compensated a flat honorarium stipend of $1,600.00 and non-federal reviewers will be
     compensated a flat honorarium stipend of $1,300.00. Honorarium stipends will be processed and
     administered following the conclusion of the grant review.

     NEXT STEPS: CONFIRM YOUR AVAILABILITY AND SEND YOUR RESUME

     1. We request that you confirm your availability by 6:00 PM (ET) on Tuesday, October 4, 2022 by
     completing the following survey: (Please click the survey link below or paste it into your preferred
     browser)
     http://new.grantreviewinfo.net/content/fy22-preschool-development-grant-birth-through-five



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                                                                                                 PEER REVIEWERS


      2. In addition to responding to the FY22 PDG Availability Survey, you must also send your resume
     to us by 6:00 PM (ET) on Tuesday, October 4, 2022 to OCCReview@grantreview.org to be considered
     for participation by Federal Staff.

     More information on the FY 2022 PDG B-5 Grants can be found at the following links:

     Renewal Grant NOFO: https://www.acf.hhs.gov/grants/grants-gov/340965


     Planning Grant NOFO: https://www.acf.hhs.gov/grants/grants-gov/341428


     If you have any questions about the peer review process, please contact us at
     OCCReview@grantreview.org.

     Regards,

     OCC Grant Review Team




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                                                                  - PDG Peer Review




     PDG Peer Review

     From: Dr. Fred L Nance Jr., Ph.D. (frednance@clickservices.org)

     To:      occreview@grantreview.org

     Cc:      frednance@clickservices.org
     Date: Friday, September 30, 2022 at 02:35 PM CDT



     Good evening. I am applying for Peer Reviewing the
             PRESCHOOL DEVELOPMENT GRANT BIRTH THROUGH FIVE (PDG B-5)
                        RENEWAL AND PLANNING GRANTS COMPETITION

     Here is my CV

     /s/Dr. Fred Nance Jr.
     Ph.D. Human Services
     Social Policy Analysis and Planning
     Founder & CEO, C.L.I.C.K. Services
     http://www.clickservices.org
     http://www.linkedin.com/in/drnance
     708-921-1395

     NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message,
     and any and all attachments transmitted with it are intended solely for the use of the addressee
     and may contain legally privileged and confidential information. If the reader of this message is
     not the intended recipient, or an employee or agent responsible for delivering this email message
     to the intended recipient, you are hereby notified that any dissemination, distribution, copying, or
     other use of the message or its attachments is strictly prohibited. If you have received this email
     message and its attachments if any, in error, please notify the sender immediately by replying to
     the message and please delete it from your computer. Thank you.

              Dr. Fred L Nance CV.pdf
              157.7kB




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                                                                        B-5 Renewal Orientation of 9 PageID  #:561
                                                                                                        - Reviewer




     PLEASE READ! FY22 PDG B-5 Renewal Orientation Confirmation - Reviewer

     From: occreview (occreview@grantreview.org)

     To:      occreview@grantreview.org

     Date: Tuesday, November 1, 2022 at 09:29 AM CDT



     Dear Reviewer,

     On behalf of the Administration for Children and Families (ACF), Office of Child Care (OCC), we
     want to inform you that you have been selected to participate in the FY 2022 Preschool
     Development Grant Birth through Five (PDG B-5) Renewal Grant objective grant review as a
     Reviewer. Non-federal reviewers will be compensated $1600.00 for full participation in this
     review.

     Federal staff have assign roles based upon a number of factors including projected application count and
     eligibility. Should the number of applications received be less than projected, some panelists may be placed
     in an Alternate status or informed that their participation is not needed.

     This review is a remote review, where all aspects of the review are managed in the Application
     Review Module (ARM), via email and toll-free conference call lines.

     Please visit the Program Support Page and read all documents pertaining to this grant review by
     clicking on the hyperlink: FY22 PDG B-5 Renewal Program Support Page

     The following is a mandatory list of requirements provided to assess your ability to serve as a
     Panelist:
           ·      Reviewers must be accessible via email and phone to their panel and to federal
           staff (Panel Manager) during the entire review period; each panel will determine their
           panel discussion schedule times.
           ·     Reviewers must participate in panel discussions concerning application strengths
           and weaknesses via conference calls.
           ·       While the panel discussion calls will be determined by each individual panel,
           reviewers must be flexible and available to participate in panel discussions during
           regular business hours (9 AM to 7 PM) and occasionally during evening hours and
           weekends.
           ·     Reviewers must be knowledgeable about accessing the internet and have regular
           access to email as a requirement to participate as a reviewer for this program.
           ·       Reviewers must have high-speed internet connectivity to properly interact with
           ARM system.
           ·        Reviewers must be familiar with and have reliable access to Adobe Acrobat
           Reader or other PDF reading software. To download Adobe Acrobat Reader for free
           visit: http://get.adobe.com/reader/.
           ·             Full cooperation and participation of all panel members is expected.
           Responsiveness is mandatory; failure to respond in a timely fashion may result in
           dismissal.

     Grant Review Schedule and Time Commitments – The review schedule and key time
     commitments are as follows:

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     November 14, 2022 – Work Agreement
       Ø    Work Agreement Form must be signed                                    and     returned     via    email   to
       OCCReview@grantreview.org before 5:00 PM (ET).

     November 14, 2022 – Conflict of Interest (COI) Review of Applications Assigned
       Ø A panel list of applications tentatively assigned for your review will be sent via email.
       Please consider each organization’s name, city and state for potential knowledge of and/or
       affiliation with the applying organization. We understand that not all conflicts are foreseeable,
       given only the applicant name and location. We ask only that you certify that no obvious
       conflict of interest exists.       Please inform the PDG B-5 Grant Review Team at
       OCCReview@grantreview.org, immediately, of any potential COIs. If no COI is found,
       instructions for completing the COI Form will be provided when you access the ARM system.

     November 9, 2022– ARM and Grant Review Orientation Training – Webinar
       Ø All confirmed panelists must participate in a training webinar to address key factors from the
       “Preschool Development Grant Birth through Five (PDG B-5) Renewal Grant” Notice of
       Funding Opportunity (NOFO). The training webinar date and time information is listed below:

                        ü ARM and Grant Review Orientation Training Webinar
                        Date: Wednesday, November 9, 2022
                        Time: 2:00 PM – 4:30 PM (Eastern Time)
                        Dial-in Number: 929-352-1870
                        Passcode: 854799148#
                        Webinar Hyperlink: Click here to join the meeting

     Monday, November 14, 2022 – Tuesday, November 18, 2022 — Grant Review Performance
     Period
        Ø On November 14, 2022, at 4:00 PM (ET), the ARM system will become available to all
        grant review participants. Panelists will have 24 hour / 7 day a week access to the ARM
        session until 6:00 PM (ET), November 18, 2022. During this performance period,
        chairpersons will work collaboratively with assigned panelists to ensure the timely completion
        of all application reading assignments, application scoring, participation in panel discussions,
        and preparation of written evaluative comments in the ARM system.

          Ø Access to the ARM System.
             · Panelists will be granted access to the ARM system.
             ·     Instructions for creating your own personalized Username and Temporary Password
             will be provided via email from No_Reply@grantsolutions.gov on November 14, 2022.
             ·        Applications will be available in PDF format via hyperlinks in the ARM system.
             Panelists should initiate: 1) the review of their assigned applications, 2) scoring of each
             application in accordance with the evaluation criteria and/or sub-criterion, and 3)
             preparation of detailed written evaluative comments.

          Ø Panel Discussions will be conducted via conference call on a toll-free line reserved solely
          for your panel. Individual panels will determine their discussion and submission schedule
          under the direction of the panel Chairperson*. The discussion and submission schedule must
          provide the Chairperson ample time to finalize panel summary reports in ARM by the end of
          the grant review. This will require your quick attention and response to any changes in
          comments or scores reached during panel discussions.



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                                                                                                        - Reviewer


          *Note: Your Chairperson will work with you to schedule the first panel call. In general,
          you should anticipate that your Chairperson will want to confirm the application review
          schedule, following the opening of the review on November 14th. The purpose of the first
          call is for panel members to develop the panel discussion schedule. Please be flexible when
          working to schedule panel calls and honor your commitment to the review. Any conflicts and/or
          difficulties within the panel should be communicated immediately to the PDG B-5 Grant
          Review Team at OCCReview@grantreview.org

     Friday, November 18, 2022
     Final Review and Approval Close of Review
        Ø The chairperson must submit all final review reports to the federal Review Director (RD) by
        10:00 AM for final approval. Review panels must remain available to respond to the call for
        clarity and/or edits from the federal program staff until all applications on the panel are
        approved.

     Please confirm your participation as a Reviewer and/or your availability has changed please notify
     us at OCCReview@grantreview.org by 12 NOON (ET) Thursday, November 3, 2022 so that we
     may withdraw your name from further consideration.

     Thank you again for your support and participation in this important grant review process.

     Regards,

     OCC Grant Review Team

     .




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                                                                                                             (ET) - Teams Link Below




     Mandatory ARM and Grant Review Orientation Training - Today @ 2pm (ET) - Teams Link
     Below

     From: occreview (occreview@grantreview.org)

     To:      occreview@grantreview.org
     Date: Wednesday, November 9, 2022 at 10:57 AM CST



         FRIENDLY REMINDER - ARM and Grant Review Orientation Training is Today at 2pm (ET)
                                                       Teams Link below
                 Preschool Development Grant Birth through Five (PDG B-5) Renewal Grant
                          ARM and Grant Review Orientation Training – Webinar
                                        Date: Wednesday, November 9, 2022
                                           Time: 2:00 PM – 4:30 PM (ET)


     November 9, 2022– ARM and Grant Review Orientation Training – Webinar
       Ø All confirmed panelists must participate in a training webinar to address key factors from
       the “Preschool Development Grant Birth through Five (PDG B-5) Renewal Grant” Notice of
       Funding Opportunity (NOFO). The training webinar date and time information is listed below:

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                        Date: Wednesday, November 9, 2022
                        Time: 2:00 PM – 4:30 PM (Eastern Time)
                        Dial-in Number: 929-352-1870
                        Passcode: 854799148#
                        Teams link: Click here to join the meeting

     If your availability has changed please notify us at OCCReview@grantreview.org immediately so
     that we may withdraw your name from further consideration.

     Thank you again and we look forward to your attendance at mandatory Arm and Grant Review
     Orientation Training.

     Regards,

     OCC Grant Review Team

     .




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                                                                          Reviewer Status9 of 9 PageID #:565




     Alternate Reviewer Status

     From: Gonzales, Richard (ACF) (richard.gonzales@acf.hhs.gov)

     To:      mdfearnowken@vcu.edu; wells_family306@verizon.net; lcrim@roanokecityschools.org; johnnettamail@aol.com;
              jalisa.whitley@gmail.com; frednance@clickservices.org
     Cc:      clarise.jackson-hall@grantsolutions.gov; clarise.hall@lcginc.com

     Date: Saturday, November 12, 2022 at 03:21 PM CST



     Hello all,

     I am sending you this email because, unfortunately, we did not receive as many applications as expected so you six
     have been moved to ALTERNATE Reviewer status. I hope you received a communication informing you of this
     change, and, if you did not I apologize for that oversight, and hope you will still be available should we lose a
     reviewer sometime during this coming week.

     In fact, we may start Monday needing 2 or 3 of you already, since some people have not yet signed-in.

     As a result of this uncertainty, please get back to me before Monday, if possible, (or Monday morning) letting me
     know that you are still interested and available. Otherwise, someone from GrantSolutions will follow-up with you
     sometime Monday to share additional information.

     Thanks,
     Richard

     Richard Gonzales
     Director, Division of Interagency & Special Initiatives
     Project Manager, Preschool Development Grants Birth through Five (PDG B-5)
     DHHS/Administration for Children and Families/Office of Early Childhood Development
     Washington, D.C. 20201
     Office: 202-401-5138
     Work Cell: 202-480-6897
     Email: richard.gonzales@acf.hhs.gov




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